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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION
                          Case No. 17-cv-24127-DPG

   NLG, LLC,

         Defendant/Appellant
   v.

   SELECTIVE ADVISORS GROUP, LLC,
   LIZA HAZAN, A/K/A ELIZABETH HAZAN

         Plaintiffs/Appellees
                                          /

     NLG, LLC’S MOTION FOR REASSIGNMENT OF RELATED CASE
    PENDING BEFORE THE HONORABLE JOSE E. MARTINEZ TO CASE
              TO THE HONORABLE DARRIN P. GAYLES

         NLG, LLC (“NLG”), through undersigned counsel, in accordance with this

   Court’s inherent authority, Local Rule 3.8 and Section 2.15.00 of the Court’s

   Internal Operating Procedures, files this Motion for Reassignment of Related Case

   Pending Before the Honorable Jose Martinez to the Honorable Darrin P. Gayles

   (the “Motion”) and avers as follows:

                           PRELIMINARY STATEMENT

         On April 10, 2018, NLG filed a declaratory judgment action seeking relief

   from a $5 million dollar Judgment by Confession obtained by Selective Advisors

   Group, LLC without notice to NLG or an opportunity to be heard, captioned as

   NLG, LLC v. Selective Advisors Group, LLC, Case Number 18-cv-21398-JEM (the
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   “Declaratory Action”). This Declaratory Action was assigned to the Honorable

   Jose E. Martinez and is directly related to the pending matter before this Court

   captioned as NLG, LLC v. Selective Advisors Group, LLC and Liza Hazan [Case

   No. 17-cv-24127-DPG] (the “Related Action”). On April 13, 2018, NLG filed a

   notice of related action. [See ECF No. 37]. As detailed below, the Declaratory

   Action should be reassigned to this Court which has already spent considerable

   judicial resources over the past six months on litigation involving the same

   property, the same issues of fact and law, originated from the same transaction and

   involving the same parties.     Reassignment will also prevent inconsistent rulings,

   promote judicial economy and prevent delays.

      Conditions for Reassignment

         While the Southern District has no specific rules for reassignment, other

   district courts state: A case may be reassigned to the calendar of another judge if it

   is found to be related to an earlier-numbered case assigned to that judge and each

   of the following criteria is met:

   (1) both cases are pending in this Court;

   (2) the handling of both cases by the same judge is likely to result in a substantial
   saving of judicial time and effort;

   (3) the earlier case has not progressed to the point where designating a later filed
   case as related would be likely to delay the proceedings in the earlier case
   substantially; and

   (4) the cases are susceptible of disposition in a single proceeding.
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         1.     As already stated, both cases are pending in this Court and thus the

   first condition has been met.

         2.     The handling of both cases by the same judge is likely to result in

   substantial savings of judicial time and effort is also true. The Related Action

   involves an appellate record exceeding 2,000 pages where an initial brief has

   already been filed by Appellant NLG. [See ECF No. 14 and 14-1]. This Court has

   already conducted two hearings on the matter and is very familiar with the parties,

   the property at issue, the related case facts and the related case law.

         3.     The earlier case, i.e. the Related Action has not progressed to the

   point where designating a later filed case as related would be likely to delay the

   proceeding. In fact, it would have the opposite effect and speed up the disposition

   of both matters.

         4.     The cases are both susceptible of disposition in a single proceeding.

         5.     Attached hereto as Exhibit 1 is a copy of the Declaratory Action and

   Exhibits.

         6.     Counsel Grant has made an appearance in the Declaratory Action and

   objects to the reassignment of the case to this Court as premature. Counsel Grant

   has filed a Motion for Extension of Time to File a Response/Reply Answer to the

   Declaratory Action.
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           WHEREFORE, Plaintiff, NLG, LLC, respectfully requests that the Court

   grant NLG’s Motion for Reassignment of Related Case Pending Before the

   Honorable Jose Martinez to the Honorable Darrin P. Gayles; reassign the

   Declaratory Action pending before Judge Martinez to this Court and grant such

   other and further relief as the Court deems appropriate.

   Dated: May 1, 2018
                                          Respectfully submitted,
       Attorneys for NLG, LLC
       Juan Ramirez, Jr.                            Astrid E. Gabbe
       ADR Miami LLC                                The Law Office of Astrid E. Gabbe, P.A.
       Florida Bar No. 201952                       Florida Bar No. 635383
       1172 S. Dixie Hwy. #341                      P.O. Box 4216
       Coral Gables, FL 33146                       Hollywood, FL 33083
       (305) 667-6609                               Tel. (954) 303-9882
       jr@adrmiami.com                              Fax. (954) 983-1427
                                                    astridgabbe@gmail.com


            CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

           I hereby certify that I am admitted to the Bar of the United States District

   Court for the Southern District of Florida and I am in compliance with the

   additional qualifications to practice in this court set forth in Local Rules 2090-

   1(A).

                             CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that I filed the foregoing with the Clerk of the Court
   and a true and correct copy of foregoing was served via U.S. mail or email and
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   EFC system to the parties on the attached service list as indicated on this 1st day of
   May, 2018.
                                          Respectfully submitted,

                                          /s/ Astrid E. Gabbe
                                          The Law Office of Astrid E. Gabbe, P.A.
                                          Florida Bar No. 635383
                                          P.O. Box 4216
                                          Hollywood, FL 33083
                                          Tel. (954) 303-9882
                                          Fax. (954) 983-1427
                                          astridgabbe@gmail.com
                                          Attorneys for NLG, LLC



                                     SERVICE LIST

   Via Email and ECF

   Joe M. Grant, Esq. on behalf of Defendant/Appellee Selective Advisors Group,
   LLC
   jgrant@msglaw.com, efile@msglaw.com;
   mg197ecfbox@gmail.com;sleary@msglaw.com

   David W. Langley on behalf of Defendant/Appellee Liza Hazan
   dave@flalawyer.com, emily@flalawyer.com;monica@flalawyer.com
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                   Exhibit 1
             The Declaratory Action
     NLG, LLC v. Selective Advisors Group, LLC, Case Number 18-cv-21398-JEM
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                         Case No. 18-cv-

   NLG, LLC,

          Plaintiff
   v.

   SELECTIVE ADVISORS GROUP, LLC,

          Defendant
                                                /

                 VERIFIED COMPLAINT FOR DECLARATORY JUDGMENT

                      NLG, LLC (“NLG”) files this Verified Complaint for Declaratory Judgment to

   vacate, set aside and strike a fraudulent judgment by confession nunc pro tunc to date of entry

   and avers as follows:

                                          INTRODUCTION

           1.         This is an action to declare a judgment obtained by 9197-5904 Quebec, Inc.

    (herein “Quebec”) fraudulent which two other judges have previously ruled was nothing but a

    sham—Judge Jean K. FitzSimon of the United States Bankruptcy Court for the Eastern

    District of Pennsylvania and Florida Circuit Court Judge Monica Gordo.

           2.         Quebec is the predecessor to Selective Advisors Group, LLC (“Selective”).

    Quebec fraudulently obtained and recorded a sham $5 million judgment by confession on

    February 22, 2012 in New York County, New York, attached hereto as Exhibit 1 (the “Sham

    Confessed Judgment”).

           3.         On or about April 21, 2014, Quebec domesticated the Sham Confessed

    Judgment in Miami-Dade County, Florida.




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           4.      On or about May 5, 2014 in Florida and on June 17, 2014 in New York,

    Quebec assigned the Sham Confessed Judgment to Selective for no consideration. See

    Exhibit 11.

           5.      On or about September 4, 2015, Selective voluntarily filed a satisfaction of the

    Sham Confessed Judgment. Attached hereto as Exhibit 2 is a true and correct copy of the

    New York County Clerk’s Certificate of Disposition and Satisfaction of the Confessed

    Judgment recorded by counsel of record for Selective in New York. Selective offered the

    New York court no explanation for the satisfaction, nor did the New York court make any

    finding before accepting the satisfaction and dismissing the case.

           6.      While the judgment has been “satisfied” and dismissed, it continues to affect

    NLG’s rights to foreclose on a mortgage which the Third District Court of Appeal ordered

    enforced by a mandate issued more than three years ago.

           7.      Although the Sham Confessed Judgment is no longer outstanding, NLG seeks

    to have the entire proceeding stricken from the public record nunc pro tunc to date of entry

    because it was a fraud on the Court, was procedurally defective, was obtained ex parte,

    without notice, and in violation of NLG’s rights to due process. Thus, the Sham Confessed

    Judgment should have never been recorded, but was instead recorded in New York County,

    New York and Miami-Dade County, Florida.

                                              PARTIES

           8.      NLG is a Delaware Limited Liability Company with its principal place of

    business located at 854 Pheasant Run Road, West Chester, Pennsylvania 19382. NLG is

    citizen of Nevis.

           9.      Selective is a Delaware Limited Liability Company with its principal place of




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    business located at 6913 Valencia Drive, Fisher Island, FL 33109. Selective is a citizen of

    Florida.

                                    VENUE AND JURISDICTION

            10.     Jurisdiction is proper in this Court. The Court has jurisdiction over this action

    under 28 U.S.C. § 1332 (Diversity), and 28 U.S.C. § 2201 (Declaratory Judgment Act).

            11.     This Court has personal jurisdiction over Selective because Selective is a

    citizen of Miami Dade County, Florida and Selective used the state and federal courts of

    Florida to further its fraud.

            12.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1391(c).

            13.     An actual case or controversy has arisen between the parties.

                                         FACTUAL BACKGROUND

            14.     On or about January 4, 2012, Quebec, recorded in Pennsylvania a judgment

    against Chris Kosachuk individually and NLG (the “Lorret Judgment”). Attached as Exhibit

    3 is a copy of the Lorret Judgment. As can be seen from Exhibit 3, although the Lorret

    Judgment listed NLG in the caption, the actual judgment was only against Chris Kosachuk

    individually.

            15.     However, Quebec misrepresented the judgment debtors when it domesticated

    the Lorret Judgment in Pennsylvania and fraudulently claimed the Lorret Judgment was also

    against NLG. It was not. Attached as Exhibit 4 is the Houle Affidavit used in Pennsylvania

    which misled the Pennsylvania Court.

            16.     Quebec then sought a charging order with management rights to NLG without

    any service or notice to NLG. This Court should take judicial notice that both Pennsylvania

    and Delaware law specifically prohibit a judgment creditor from taking over the management




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    of an LLC. Furthermore, even if valid, the Charging Order should have been limited to collecting

    the amount due under the Lorret Judgment, which was the relief requested in Quebec’s motion, to wit:

    $105,375.78, plus costs of $1,050.00, and interest.

              17.    Using those wrongfully and fraudulently obtained management rights, on

    February 22, 2012, Quebec recorded the Sham Confessed Judgment at issue in this action by

    acting as Plaintiff Quebec and Defendant NLG at the same time in the same action using the

    same attorney, Mr. Darius Marzec, who is also Liza Hazan’s attorney of record in the three

    states.

              18.    As soon as NLG discovered this fraud committed by Quebec and its attorney,

    Mr. Marzec, NLG motioned the Pennsylvania court to vacate the Lorret Judgment and the

    charging order against NLG, which the Pennsylvania court did. Attached hereto as Exhibit 5

    is the order vacating the Lorret Judgment and charging order against NLG (the “Vacatur

    Order”). By operation of law, the Vacatur Order cancelled all actions taken pursuant to the

    charging order or the Lorret Judgment.

              19.    Before the Pennsylvania Court vacated the charging order, on March 27,

    2012, the Marzec Law Firm filed a complaint in New York County, New York, against Mr.

    Kosachuk and NLG with NLG as the purported plaintiff under Index Number 102260/2012

    captioned V.R. Auto Location D/B/A NLG, LLC AND NLG, LLC v. Christopher Kosachuk

    (Index Number 102260/2012 NYSCEF Doc. Nos. 2)) (the “V.R. Auto Complaint”). Attached

    hereto as Exhibit 6 is a true and correct copy of the V.R. Auto Complaint.

              20.    Correctly the New York Court abated the action to give NLG an opportunity

    to vacate the charging order in Pennsylvania. As soon as the New York Court became aware

    of its vacatur, it forced Mr. Marzec to withdraw his frivolous V.R. Auto Complaint, which




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    was done on June 27, 2012. Attached hereto as Exhibit 7 is a true and correct copy of the

    New York Court’s Order recognizing the withdrawal of the V.R. Auto Complaint.

            21.      At no time in the action pursuant to the V.R. Auto Complaint did Quebec or

    Mr. Marzec ever mention in any of their filings that Quebec already had recorded a $5 million

    Judgment by Confession against NLG on February 22, 2012. There was no point to the V.R.

    Auto Complaint against NLG, if Quebec was already a real judgment creditor of NLG for $5

    million. Quebec and its attorney concealed these facts from the New York Court, NLG and

    Mr. Kosachuk.

            22.      On April 4, 2014, Raymond Houle, gave a deposition wherein Mr. Houle

    unequivocally stated that NLG owed no money to Quebec. Attached hereto as Exhibit 8 is a

    true and correct copy of the Houle Deposition Transcript.

            23.      Specifically in his deposition on page 45 at lines 18 – 20, Mr. Houle was

    asked “Before you filed this confession of judgment against NLG, did NLG owe Quebec

    Corporation any money?” Answer by Mr. Houle. “No.” Accordingly, Mr. Houle admits that

    NLG owed no money to Quebec before this sham Confessed Judgment.

            24.      Knowing that no money was actually owed, Quebec used the Florida Courts

    to further its fraud.

            25.      On or about April 21, 2014, Quebec domesticated the Sham Confessed

    Judgment in Miami-Dade County under case number 14-10475-CA-01 and the case was

    assigned to the Honorable Peter Lopez.

            26.      On March 24, 2015, the Honorable Jean K. FitzSimon of the United States

    Bankruptcy Court for the Eastern District of Pennsylvania cancelled the Lorret Judgment

    against Mr. Kosachuk nunc pro tunc, which had served as the basis for the entire proceeding




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    and charging order from Pennsylvania. Attached hereto as Exhibit 9 is a true and correct

    copy of the FitzSimon Judgment. Judge FitzSimon found that the entire proceeding in

    Pennsylvania was filed in bad faith and awarded Mr. Kosachuk over $1 million in

    compensatory and punitive damages against Quebec, which remains wholly unsatisfied. This

    is the same entity, Quebec, which assigned its rights to Selective, and is still claiming rights

    against NLG based on the same Lorret Judgment. Both the US District Court for the Eastern

    District of Pennsylvania and the Court of Appeals for the Third Circuit agreed with this

    assessment of Quebec’s bad faith and egregious actions in filing the bad faith involuntary

    bankruptcy proceeding against Mr. Kosachuk.

           27.     This Court should note that Mr. Marzec was the attorney who filed the bad

    faith involuntary proceeding against Mr. Kosachuk in Philadelphia resulting in the damages

    judgment mentioned above, was also the architect of the Sham Confessed Judgment, has filed

    multiple pleadings in Florida, and is still Ms. Hazan’s attorney of record.

           28.     By operation of law, all actions taken pursuant to the Lorret Judgment and

    charging order were cancelled nunc pro tunc by Judge FitzSimon in the Bankruptcy Court for

    the Eastern District of Pennsylvania and by the Pennsylvania State Court.

           29.     On March 15, 2018, the United States Court of Appeals for the Third Circuit

    affirmed the FitzSimon Judgment. Attached hereto as Exhibit 10 is a true and correct copy of

    the Third Circuit Judgment and Opinion.

           30.     Selective continues to assert wrongfully that it somehow still has rights

    pursuant to the Sham Confessed Judgment even though it voluntarily satisfied those rights

    years ago and the Pennsylvania Courts cancelled any of those alleged rights.

           31.     Selective tried to assert those rights post satisfaction in front of Judge Gordo,




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    in NLG’s Foreclosure Action. After carefully considering Selective’s position and arguments,

    Judge Gordo rejected them all in a detailed 46-page order granting foreclosure (the

    “Foreclosure Order”). Attached as Exhibit 11 is a true and correct copy of the Foreclosure

    Order which is final and no longer appealable. The Judge Gordo Foreclosure Order was

    followed by a Final Judgment of Foreclosure, which was appealed, but that appeal was

    subsequently dismissed. Thus, all her findings and conclusions constitute the law of the case.

            32.    Judge Gordo’s Foreclosure Order should have ended the matter but Selective

    continued to litigate this matter and NLG is now forced to bring this matter to conclusion

    before this Court.

                       COUNT ONE – DECLARATORY JUDGMENT
                (VACATING, SETTING ASIDE AND STRIKING THE $5 MILLION
                SHAM CONFESSED JUDGMENT NUNC PRO TUNC TO DATE OF
                                       ENTRY)

            33.     To the extent applicable, NLG incorporates by reference the allegations

    contained in the previous paragraphs of this Complaint as if fully rewritten herein.

            34.    NLG demands a declaratory judgment in its favor against Selective Advisors

    Group, LLC that the Sham Confessed Judgment is vacated, set aside and stricken with

    prejudice nunc pro tunc to date of entry in both New York and Florida.

            35.    Based on the foregoing, the Sham Confessed Judgment should be vacated, set

    aside and stricken with prejudice nunc pro tunc to date of entry.

          WHEREFORE, Petitioner NLG respectfully requests a Final Judgment against

     Defendant, SELECTIVE ADVISORS GROUP, LLC, A Delaware Limited Liability Company,

     and enter judgment as follows:

          1.)     The Sham Confessed Judgment for $5 million and assigned to Selective Advisors




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   Group, LLC is hereby vacated, set aside and stricken from the public records, in both New York

   and Florida, nunc pro tunc to date of entry on the basis of fraud, collusion, an insufficient

   affidavit and failure to comply with the NY CPLR;

          2.)    Enter a judgment awarding NLG, LLC all attorney’s fees court costs,

   disbursements and other such relief this Honorable Court finds appropriate.


                                                       Respectfully submitted,

        Attorneys for NLG, LLC
        Juan Ramirez, Jr.                                 Astrid E. Gabbe
        Florida Bar No. 201952                            The Law Office of Astrid E. Gabbe, P.A.
        ADR Miami LLC                                     Florida Bar No. 635383
        1172 S. Dixie Hwy. #341                           P.O. Box 4216
        Coral Gables, FL 33146                            Hollywood, FL 33083
        (305) 667-6609                                    Tel. (954) 303-9882
        jr@adrmiami.com                                   Fax. (954) 983-1427
                                                          astridgabbe@gmail.com




     Dated: Miami, FL
     April 6, 2018




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                           EXHIBIT 1
                          Sham Confessed Judgment




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                        SUPREME COURT OF THE STATE OF NEW YORK                                           Address of Plaintiff:
                        COUNTY OF NEW YORK                                                               3765 Saint-Kevin, Ste 9
                                                                                                         Montreal, Quebec H3T fH8
                                                                                                         Canada

                        9197-5904 Quebec, Inc.                                                           Index No.:
                                                                       Plaintiff,
                                                                                                         JUDGMENT BY
                                                                                                         CONFESSION
                                  against

                        NLG, LLC, a Delaware Limited Liability Company,

                                                                       Defendant.
                                                                                                                  a2101875


                        Amount Confessed                               $5,000,000.00
                               Interest                                $0.00                            $5,000,000.00

                       Costs by Statute                                  $15.00
                       Transcript
                       Fees on Execution
                       Satisfaction
                       Filing Fee                                      $2 10.00                         $5,000,225.00
                                 The undersigned, Attorney at Law of the State of New York, affirms that he is the

                       attorney of record for the Plaintiff herein and states that the disbursements specified are correct

                       and true and have been or will necessarily be made or incurred herein and are reasonable in

                       amount and affirms this statement to be true under the penalties of perjury.

                       Dated: February 16,2012
                                                          .-                        MARZEC LAW FIRM, PC



                                                                                                               -  7
                                                                                    Attorney for Plaintiff
                                                                                    225 Broadway, Suite 3000
                                                                                    New York, NY 10007


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                                                                         I.
                           JUDGMENT entered the                 D t a y of    @pl
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                           On the foregoing affidavit of Confession of Judgment       e by the defendant herein,
                  sworn to the on the 16th day of February 2012,



                           NOW, ON MOTION OF MARZEC LAW FIRM, PC,attorney for plaintiff, it is



                           ADJUDGED that 9197-5904 Quebec, Inc. Plaintiff, with the address of 3765 Saint-

                 Kevin, Suite 9, Monteal, Quebec H3T 1H8, Canada, do recover of              ~       +
                                                                                                 LLC, Defendant, with
                 the address of 6499 North Powerline Road, Suite 304, Fort Lauderdale, Florida 33309, the sum

                 of $5,000,000.00 with interest of $0.00, making a total s u m of $5,000,000.00 together with

                            costs and disbursements,&$          h d by        ck&C   amounting in all to the s u m of

    ?(           $5,000,225*00 and that the plaintiff have execution therefor.




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            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF NEW YORK                                                                            Index No. 101 &F

            9 197-5904 Quebec, Inc.,
                                                           Plaintif€,                                     AFFIDAVIT OF
                                                                                                          CONFESSION OF
                      against                                                                             JUDGMENT

           NLG, LLC,                De ( ~ t h      LI f i 1 W    D                  r
                 Ll   f i A I L r FY    u- P f i Md
                                                           Defendant.

            STATE OF NEW YORK                                                                  FEB 2 2 2012
           COUNTY OF NEW YORK                              8s.:


                      Raymond Houle, being duly sworn, deposes and says; that deponent is the Manager and

           duly authorized agent of the defendant Limited Liability Company and is duly authorized to

           make this Affidavit on behalf of the LLC defendant herein.

                      The defendant hereby confesses judgment herein and authorizes entry thereof against

           defendant in the s u m of $5,00O,000.00.

                      Defendant’s address is 6499 North Powerline Road, Suite 304, Fort Lauderdale, Florida

           33309; Defendant authorizes entry of judgment in New York County, New York, if said

           residence address is not in New York State.

                      This confession of judgment is for a debt justly due to the plaintiff arising from the

           following facts: Fraud and Abuse of Process.

                  This affidavit, if made in connection with an agreement for the purchase for
           $1,500.00 or less of any commodities for any use other than a commercial or business use
           upon any plan of deferred payments whereby the price or cost is payable in two or more
           installments, was executed, subsequent to the time a default occurred in the payment of an


                                                                                 &i$$m€+
           installment thereunder.

           Sworn to before me this
               day of F&mJ,2O12
                                                                              ....
                                                                              9197-5904 Quebec, Inc. by Raymond Houle, Manager
                                                                                lvlrfiww%          WL&         L.L c
                                                                                                     Darius A. Marzec
                                                                                          Notary Public State of New York
                                    c                                                              No. O2MA6186309
                                                                                                ,,~~tie:d ~nQueens County
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     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF NEW YORK

     9 197-5904 Quebec, Inc.,
                                                       Plaintiff,             AFFIDAVIT OF
                                                                              RAYMOND HOULE
               against                                                        REGARDING FACTS
                                                                              SUPPORTING
                                                                              JUDGMENT
     NLG, LLC,

                                                       Defendant.

     STATE OF NEW YORK

     COUNTY OF NEW YORK                                ss.:

                Raymond Houle, being duly sworn, deposes and says; that deponent is the Manager and

     duly authorized agent of the defendant Limited Liability Company and is duly authorized to

     make this Affidavit on behalf of the LLC defendant herein.

               This confession of judgment is for a debt justly due to the plaintiff arising from the

     following facts: Defendant has consistently abused its legal position by filing frivolous litigation

     documents, affidavits, pleadings, and motions, in and without the state, misrepresenting the truth

     concerning key facts regarding the mode of operation, personnel, employees, corporate

     documents and status of defendant; Defendant has failed to abide by rules of court with respect

     to discovery, disclosures and subpoena power of the court and counsel, and has made litigation

     process difficult, wasteful, and expensive to adversaryhes. All actions of Defendant constitute

     abuse of process and fraud upon the court and parties involved, who were unduly damaged by

     such fraudulent conduct and abuse of process by Defendant. The conduct of Defendant was

     intentional and malicious and calculated to cause additional expense, delay and harassment to

     defendant’s adversaries; such conduct was illegal, improper, unethical and unnecessary to the          ,



     administration of justice and process in these matters, giving Plaintiff a cause of action.




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              Sworn to before me on the & day of

                                                       3 -   2ofi.




                                                                            Darius A. MEIFZ~G
                                                                     Notary Public State of New YWk
                                                                           No.02MA6186309
                                                                       Qualified in Queens County
                                                                     Commission Expires 0 4 / 2 8 / 2 d L




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        SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF NEW YOKK                     Index No.

        9197-5904 Quebec, Inc.,
                                                       Plaintiff,




                                         JUDGMENT BY CONFESSION
                                   AFFIDAVIT OF JUDGMENT BY CONFESSION
                                                                                                 I
                                               ATTORNEYS FOR PLAINTIFF
                                                  Manec Law Firm, P.C.                      FILED AND
                                                  Darius A. Marzec, Esq.                    D~~~~~~~
                                                 225 Broadway, Suite 3000
                                                   New York, NY 10007
                                                           2 12-267-0200                 AT               M


                                                       CERTIFICATION

                 Pursuant to Section 130-1.1, the following documents are hereby certified:




                                                                           Attorneys for Plaintiff
                                                                           225 Broadway, Ste. 3000
                                                                           New York, NY 10007
                                                                           (212) 267-0200




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                           EXHIBIT 2
        New York County Clerk’s Certificate of Disposition and
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                           EXHIBIT 5
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                           EXHIBIT 6
                             V.R. Auto Complaint




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                                             SUPREME COURT OF THE STATE OF NEW YORK
                                             COUNTY OF NEW YORK
                                             _--I_   ----------_
                                             V.R. AUTO LOCATION INC.D/B/A NLG
                                                                                 X           I_-
                                                                                                           Index No.:
                                                                                                           Date of Purchase:

                                                                                                           SUMMONS
                                             AND NLG, LLC.,
                                                                   Plaintiff,                              Plaintiff designates

                            i                               -against-
                                                                                                           NEW YORK
                                                                                                           County as place of trial

                                i            CHRISTOPHER KOSACHUK,                                         The basis of venue is:         2   0      ti
                                I                                                                          Plaintifls Place Of
                                i                                           Defendant.                     Doing Business



                                             To the above named defendant:

                                    I                YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
                                    i         copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
                                    i         appearance on the Plaintiffs Attorneys within 20 days after the service of this summons exclusive of
                                             the day of service (or within 30 days after the service is complete if this swmmons is not personally
                                             delivered to you within the State. of New York); and in case of your failure to appear or answer,
                                             judgment will be taken against you by default for the relief demanded herein.

                                             Dated: New York, New York
                                                    March 22,2012

                                                                                           MARZEC LAW FIRM, P.C.

                                                                                   BY:

                                                                                           MICHAEL MA, ESQUIRE.
                                                                                           Marzec Law Firm, P.C.
                                                                                           Attorneys for Plaintiff
                                                                                           225 Broadway, Ste. 3000
                                                                                           New York, New York 10007
                                                                                           (2 12) 267-0200
                                                                                           dnmzec~arzecLaw.co~

                                             Defendant's Address:                                                     Lu
                                             Christopher Kosachuk
                                                                                                                     .rl
                                                                                                                     rslr
                                             201 South Biscayne Blvd.
                                             28thFloor
                                             Miami, FL 33131
                                                                                                                    LL



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                                              Plaintiff,               Index No.:

                            - against -
                                                                       COMPLAINT
          CHRISTOPHER KOSACHUK,

                                              Defendant.




                   Plaintiff? V.R. AUTO CONNECTION INC D/B/A NLG AND NLG, LLC, by and

          through its attorneys MARZEC LAW FIFW, P.C., complains of the Defendant as follows:

                   1.       At all times hereinafter mentioned, Plaintiff V.R. AUTO CONNECTION INC.

          D/B/A “NLG” AND “NLG, LLC” (T.R.”) was and is a Canadian corporation doing business in

          the City of New York, New York with the principal business address of 3756 Saint- Kevin, Ste

          9, Montreal, Quebec, H3T 1H8, Canada.

                   2,       At all times hereinafter mentioned, Defendant Christopher Kosachuk

          (“Kosachuk”) is an individual with an address of 201 S. Biscayne Blvd., 2gfi Floor, Miami, FL

          33131.

                   3.       Jurisdiction is proper in New York as both Plaintiff and Defendant do business in

         i New York and all pertinent events took place in New York State and New York County, to wit:
          execution of documents, agreements, corporate documents, exchange of consideration, and the

          acts complained of occurred herein.

          1        4.       This is a declaratory judgment action.



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                                                                                                                -&
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     *                                                                                                     t-



                                                           FACTS

                5.      All interest in NLGNLG, LLC (“NLG”) was transferred from 9197-5904

         Quebec, Inc. to VR, on or about March 1,2012.

                6.      9197-5904 Quebec, Inc. received complete authority over NLG pursuant to a

         court order after extensive execution proceedings against Defendant Kosachuk.

                7.      9197-5904 Quebec, Inc. holds a valid New York Judgment against Christopher

         Kosachuk in the sum exceeding $105,000.00 including interest.

                8.      Per execution proceedings, Christopher Kosachuk has lost its right, title and

         interest in NLG.

                9.      V.R. currently holds any and all interest in NLG, and is doing business as such.

                10.      V.R. has learned that Defendant Kosachuk continues to hold himself out as

         Managermember of NLG in violation of property and corporate rights of Plaintiff.

                11.      Plaintiff is in the business of consulting.

                                                       CAUSE OF ACTION

                12.      Plaintiff repeats and realleges all foregoing allegations.

                13.      Plaintiff demands a declaratory judgment in its favor and against Defendant,

         declaring that is the rightful owner of, and solely charged with control of the NLG.

                14.      Plaintiff a declaratory judgment indicating that Defendant has no right, title or

         interest in NLG.

                15.      Moreover, Defendant Kosachuk’s misrepresentation has imbued irreparable harm

         and damages upon V.R., and will continue to imbue such irreparable harm and damages absent

         preliminary and permanent relief by this Court.




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      WHEJXEFOIRE, Plaintiff respectklly requests that judgment be entered against the Defendant

      as follows: That the Court issue a judgment declaring:

               (i)      V.R. as sole shareholder/owner/beneficiary of NLG; and

               (ii)     Christopher Kosachuk an individual with no interest, shares, rights, or position

                        whatsoever in NLG; and

               (iii)    Christopher Kosachuk an individual with no right to bind NLG; and

               (iv)     Costs and expenses, including attorneys' fees and disbursements, as permitted by

                        law, and such other and further relief as the Court may deem just, proper and

                        equitable.

      Dated: New York, New York                                    MARZEC LAW FIRM, PC
             March 22,2012



                                                       By:
                                                                   Marzec Law Firm, P.C.
                                                                   Attorneys for Plaintiff
                                                                   225 Broadway, Suite 3000
                                                                   New York, New York 10007
                                                                   (2 12) 267-0200
                                                                   dmarzec@MarzecLaw.com




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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK                                                               Index No.

V.R. AUTO LOCATION, INC. D/B/A NLG
AND NLG, LLC.

                                   Plaintiff,

- against -

CHRISTOPHER KOSACHUK,

                                   Defendant.
          .
          ..                 ~~




                                         SUMMONS AND COMPLAINT


                                         ATTORNEYS FOR PLAINTIFF
                                            Marzec Law Firm, P.C.
                                            Darius A. Marzec, Esq.
                                           225 Broadway, Suite 3000
                                             New York, NY 10007
                                                      212-267-0200


                                                  CERTIFICATION

        Pursuant to Section 130-1.1, the following documents are hereby certified:




                                                                     By: M'khael a a , Esq.
                                                                     MARZEC LAW FIRM PC
                                                                     Attorneys for Plaintiff
                                                                     225 Broadway, Ste. 3000
                                                                     New York, NY 10007
                                                                     (212) 267-0200




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                           EXHIBIT 7
    New York Court’s Order recognizing the withdrawal of the V.R.
                         Auto Complaint




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                           UNITED STATES COURT OF APPEALS
                                FOR THE THIRD CIRCUIT


                                           No. 17-2216

                                       IN RE: JOHN DOE,
                                                  Involuntary Petitioner

                                                v.

                                   9197-5904 QUEBEC, INC.,
                                                  Appellant

                          Appeal from the United States District Court
                            for the Eastern District of Pennsylvania
                                   (D.C. No. 2:15-cv-04870)
                           District Judge: Hon. Wendy Beetlestone

                          Submitted Under Third Circuit L.A.R. 34.1(a)
                                       March 15, 2018


                 Before: JORDAN, SHWARTZ and KRAUSE, Circuit Judges.


                                          JUDGMENT



          This case came to be considered on the record from the United States District

    Court for the Eastern District of Pennsylvania and was submitted pursuant to Third

    Circuit L.A.R. 34.1(a) on March 15, 2018.

          On consideration whereof, it is now hereby ORDERED and ADJUDGED by this

    Court that the Order of the District Court entered on April 18, 2017 is hereby




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    AFFIRMED. Costs taxed against Appellant. All of the above in accordance with the

    Opinion of this Court.



                                                 ATTEST:

                                                 s/ Patricia S. Dodszuweit
                                                 Clerk


    Dated: March 15, 2018




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                                             OFFICE OF THE CLERK


    PATRICIA S. DODSZUWEIT          UNITED STATES COURT OF APPEALS                            TELEPHONE
          CLERK                               FOR THE THIRD CIRCUIT                          215-597-2995
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                                                601 MARKET STREET
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                                       Website: www.ca3.uscourts.gov


                                                                   March 15, 2018


    John Doe
    N/A


    Todd M. Mosser
    1500 John F. Kennedy Boulevard
    Two Penn Center Plaza
    Suite 1723
    Philadelphia, PA 19102


     In re: John Doe
     Case Number: 17-2216
     District Case Number: 2-15-cv-04870



                                         ENTRY OF JUDGMENT

    Today, March 15, 2018 the Court entered its judgment in the above-captioned matter pursuant to
    Fed. R. App. P. 36.

    If you wish to seek review of the Court's decision, you may file a petition for rehearing. The
    procedures for filing a petition for rehearing are set forth in Fed. R. App. P. 35 and 40, 3rd Cir.
    LAR 35 and 40, and summarized below.

    Time for Filing:
    14 days after entry of judgment.
    45 days after entry of judgment in a civil case if the United States is a party.

    Form Limits:
    3900 words if produced by a computer, with a certificate of compliance pursuant to Fed. R. App.




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    P. 32(g).
    15 pages if hand or type written.

    Attachments:
    A copy of the panel's opinion and judgment only.
    Certificate of service.
    Certificate of compliance if petition is produced by a computer.
    No other attachments are permitted without first obtaining leave from the Court.

    Unless the petition specifies that the petition seeks only panel rehearing, the petition will be
    construed as requesting both panel and en banc rehearing. Pursuant to Fed. R. App. P. 35(b)(3),
    if separate petitions for panel rehearing and rehearing en banc are submitted, they will be treated
    as a single document and will be subject to the form limits as set forth in Fed. R. App. P.
    35(b)(2). If only panel rehearing is sought, the Court's rules do not provide for the subsequent
    filing of a petition for rehearing en banc in the event that the petition seeking only panel
    rehearing is denied.

    A party who is entitled to costs pursuant to Fed.R.App.P. 39 must file an itemized and verified
    bill of costs within 14 days from the entry of judgment. The bill of costs must be submitted on
    the proper form which is available on the court's website.

    A mandate will be issued at the appropriate time in accordance with the Fed. R. App. P. 41.

    Please consult the Rules of the Supreme Court of the United States regarding the timing and
    requirements for filing a petition for writ of certiorari.



    Very truly yours,
    Patricia S. Dodszuweit, Clerk

    By: s/ Marianne/arr, Legal Assistant
    Direct Dial: 267-299-4911




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                                                                      NOT PRECEDENTIAL

                            UNITED STATES COURT OF APPEALS
                                 FOR THE THIRD CIRCUIT
                                     ______________

                                           No. 17-2216
                                         ______________

                                       IN RE: JOHN DOE,
                                                Involuntary Petitioner

                                                 v.

                                   9197-5904 QUEBEC, INC.,
                                                 Appellant
                                        ______________

                           Appeal from the United States District Court
                             for the Eastern District of Pennsylvania
                                     (D.C. No. 2:15-cv-04870)
                            District Judge: Hon. Wendy Beetlestone
                                        ______________

                          Submitted under Third Circuit L.A.R. 34.1(a)
                                        March 15, 2018
                                       ______________

                 Before: JORDAN, SHWARTZ, and KRAUSE, Circuit Judges.

                                      (Filed: March 15, 2018)

                                         ______________

                                            OPINION*
                                         ______________

    SHWARTZ, Circuit Judge



           *
            This disposition is not an opinion of the full Court and, pursuant to I.O.P. 5.7,
    does not constitute binding precedent.



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           9197-5904 Quebec, Inc. (“Quebec”) appeals, for the second time, from an order

    denying Quebec’s motion for post-judgment relief under Federal Rule of Civil Procedure

    60(b)(1). Because the District Court did not abuse its discretion in denying such relief,

    we will affirm.

                                                  I

           Quebec filed an involuntary bankruptcy petition against John Doe, which the

    Bankruptcy Court dismissed. Doe then filed a motion asking the Bankruptcy Court to

    declare Quebec’s petition to be in bad faith and for damages. Quebec failed to appear at

    the hearing on the motion allegedly due to the then-hospitalization of Quebec’s

    representative, and on March 24, 2015, the Bankruptcy Court granted the motion and

    awarded approximately $1 million in punitive damages. Quebec then retained its current

    counsel. Twenty-one days after the appeal deadline passed, Quebec sought an extension

    of time for filing the appeal, asserting that it did not receive a copy of the Bankruptcy

    Court’s March 24, 2015 order. The Bankruptcy Court denied the extension request.

    Quebec appealed that ruling to the District Court, and that same day, it received notice

    that it needed to file a designation of portions of the Bankruptcy Court record for the

    appeal by September 8, 2015. Quebec failed to do so, and the District Court dismissed

    the appeal on September 30, 2015 without an opinion. Quebec asserts that it failed to

    timely file the designation due to its counsel’s erroneous calendaring of the deadline as

    October 22, 2015.

           On October 20, 2015, Quebec filed its designation of record and a motion for post-

    judgment relief under Federal Rules of Civil Procedure 59(e) and 60(b)(1) seeking to

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    vacate the District Court’s September 30, 2015 dismissal of the appeal. The District

    Court denied the motion as “untimely” without an opinion. Quebec filed a motion for

    reconsideration under Rule 59(e) which the District Court also denied without an opinion.

    Quebec appealed. We vacated the District Court’s order denying Quebec’s second Rule

    59(3) motion because the District Court did not analyze whether Quebec’s prior Rule

    60(b) motion was timely filed. In re Doe, 681 F. App’x 106, 108-09 (3d Cir. 2017) (not

    precedential). We remanded to allow the District Court to determine the motion’s

    timeliness and, if timely, consider the merits of the motion under Pioneer Investment

    Services Company v. Brunswick Associates Limited Partnership, 507 U.S. 380, 395

    (1993). Id. at 109.

           On remand, the District Court again denied Quebec’s Rule 59(e) motion, finding

    that the motion’s timeliness was “questionable” and, even if timely, the prior Rule 60(b)

    motion nevertheless failed on the merits because the Pioneer factors demonstrated that

    Quebec had not shown “excusable neglect” warranting Rule 60(b)(1) relief. App. 10-14.

    Quebec appeals.

                                                II1




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             The District Court had jurisdiction under 28 U.S.C. § 158(a)(1). Our Court has
    jurisdiction pursuant to 28 U.S.C. § 1291. Doe argues that this appeal is untimely and
    that we therefore lack appellate jurisdiction. See Doe’s June 12, 2017 Mot. to Dismiss
    ¶ 10. Doe is mistaken. The District Court entered its order denying Quebec’s Rule 60(b)
    motion on April 18, 2017, and Quebec filed its notice of appeal on May 18, 2017, which
    is within the 30-day timeframe set forth in Fed. R. App. P. 4(a)(1)(A). See also Fed. R.
    App. P. 6(b)(1) (applying Rule 4(a)(1)(A) to bankruptcy appeals). Therefore, this appeal
    is timely, and Doe’s motion to dismiss for lack of appellate jurisdiction is denied.
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           We review a district court’s order denying a Rule 60(b)(1) motion for abuse of

    discretion, except with respect to issues of law, over which we exercise plenary review.

    McBride v. Int’l Longshoremen’s Ass’n, 778 F.3d 453, 458 (3d Cir. 2015). An abuse of

    discretion occurs where the district court’s order “rests upon a clearly erroneous finding

    of fact, an errant conclusion of law or an improper application of law to fact” or where

    “no reasonable person would adopt the district court’s view.” In re Cendant Corp.

    PRIDES Litig., 235 F.3d 176, 181 (3d Cir. 2000) (citation and internal quotation marks

    omitted).

           Under Rule 60(b)(1), a district court may relieve a party from an order if the order

    resulted from “excusable neglect.”2 Fed. R. Civ. P. 60(b)(1). The question of whether a

    party’s “neglect is ‘excusable’ is essentially an equitable one, in which courts are to take

    into account all relevant circumstances surrounding a party’s failure to file.’” George

    Harms Constr. Co. v. Chao, 371 F.3d 156, 163 (3d Cir. 2004) (citation omitted). In

    making this determination, courts consider: (1) “the danger of prejudice,” (2) “the length

    of the delay and its potential impact on judicial proceedings,” (3) “the reason for the

    delay, including whether it was within the reasonable control of the movant,” and (4)

    “whether the movant acted in good faith.” Pioneer, 507 U.S. at 395. “[I]nadvertence,

    ignorance of the rules, or mistakes construing the rules do not usually constitute




           2
             Rule 60(b) motions “must be made within a reasonable time” and “no more than
    a year after the entry of the judgment” from which relief is sought. Fed. R. Civ. P.
    60(c)(1). Quebec does not challenge the District Court’s conclusion that it was
    “questionable” whether the motion was made within a reasonable time.
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    ‘excusable’ neglect,” but excusable neglect “is not limited strictly to omissions caused by

    circumstances beyond the control of the movant.” Id. at 392.

           The District Court applied the Pioneer factors, found that Quebec’s failure to

    timely file a designation of record for its appeal—which resulted in the dismissal of the

    appeal—was not attributable to excusable neglect, and denied Quebec’s Rule 60(b)(1)

    motion.3 The District Court’s ruling was not an abuse of discretion.

           First, the reason for the delay weighs against finding excusable neglect. Quebec’s

    counsel concedes that he had notice of the September 8, 2015 deadline for filing the

    designation of record but explains that the deadline was mis-calendared. The District

    Court aptly found that counsel’s oversight could have been prevented through effective

    office procedures and reasonable diligence on the part of counsel in checking the

    bankruptcy docket. See Ragguette v. Premier Wines & Spirits, 691 F.3d 315, 322, 326,

    328-31 (3d Cir. 2012) (concluding no excusable neglect based primarily on the reason for

    the delay factor where counsel’s 29-day delay was caused by poor office practices,



           3
              Quebec argues that the factors in Poulis v. State Farm Fire & Casualty Co., 747
    F.2d 863 (3d Cir. 1984), support relief. However, the Poulis framework applies when a
    district court considers dismissing a case before trial. Quebec does not challenge the
    dismissal of its involuntary bankruptcy petition against Doe but instead seeks review of a
    post-judgment order—the bankruptcy court’s ruling imposing damages for Quebec’s bad
    faith filing of the petition. See Roberts v. Ferman, 826 F.3d 117, 123 n.5 (3d Cir. 2016)
    (stating that a district court must consider the Poulis factors before dismissing a case for
    failure to prosecute but no Poulis analysis is necessary when the district court “dismisses
    a post-trial motion”); Knoll v. City of Allentown, 707 F.3d 406, 408-11 (3d Cir. 2013)
    (holding that Poulis does not apply in the post-trial context); see also George Harms, 371
    F.3d at 163 (applying the Pioneer factors to a Rule 60(b)(1) motion). Because Poulis
    does not apply in the post-judgment context, we reject Quebec’s argument that the Poulis
    factors support its request for relief.
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    explaining that counsel should have discovered the error earlier, and noting authority

    from another circuit which held that counsel’s mis-calendaring was not excusable); Nara

    v. Frank, 488 F.3d 187, 193-94 (3d Cir. 2007), as amended (June 12, 2007) (holding no

    excusable neglect under Rule 60(b) where an attorney would have received notice of the

    order he untimely sought to challenge had he complied with the standing order to register

    with the electronic filing system). Moreover, the District Court correctly observed that it

    was “difficult to excuse” counsel’s incorrect recording of the September 8 deadline as

    October 22, “nearly two months after he filed the notice of appeal (and received the email

    notification)” and far beyond the fourteen-day deadline, in light of “the appellate practice

    [Quebec’s counsel] professes to maintain.” App. 11-12. In addition, the District Court

    correctly rejected Quebec’s argument that it could not be held responsible for its

    counsel’s errors given the Supreme Court’s clear statement that “clients must be held

    accountable for the acts and omissions of their attorneys,” Pioneer, 507 U.S. at 396.

           Second, the District Court did not abuse its discretion in finding that Quebec’s

    delay prejudiced Doe and had a negative impact on judicial proceedings because “redress

    for the harm [to Doe] caused by Quebec’s filing of an involuntary bankruptcy petition . . .

    has now been delayed for nearly five years,” and the delay “undermin[ed] the expeditious

    administration of this litigation, which has already been protracted as a result of Quebec’s

    dilatoriness.” App. 13. The District Court further noted that Quebec’s delay was another

    example of its bad faith conduct exhibited throughout the underlying bankruptcy

    proceeding. Quebec “fail[ed] to cooperate with [Doe], fail[ed] to appear at hearings, and



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    fail[ed] to appear at trial.” App. 12-14 (citing In re Kosachuk, Bankr. No. 12-16438, slip

    op. (Bankr. E.D. Pa. Mar. 24, 2015)).

           Although Quebec’s present counsel was retained after the Bankruptcy Court

    issued its decision on Quebec’s bad faith filing of the bankruptcy petition, reasonably

    diligent counsel entering at that late stage of the litigation would have reviewed the

    record, observed the history of dilatoriness and prior finding of bad faith, and ensured

    that future filings complied with all applicable rules and orders. See In re Cendant Corp.

    PRIDES Litig., 235 F.3d at 184; see also In re Guidant Corp. Implantable Defibrillators

    Prods. Liab. Litig., 496 F.3d 863, 867 (8th Cir. 2007) (concluding lack of good faith

    where a party had a history of delay). Therefore, the District Court did not abuse its

    discretion in concluding that Quebec has not shown excusable neglect that would entitle

    it to relief under Rule 60(b)(1).

                                                 III

           For the foregoing reasons, we will affirm.




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                          EXHIBIT 11
                             The Foreclosure Order




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                                             IN THE CIRCUIT COURT OF THE 11TH
                                             JUDICIAL CIRCUIT IN AND FOR
                                             MIAMI-DADE COUNTY, FLORIDA

                                             CIRCUIT CIVIL DIVISION

                                             CASE NO.: 11-42770-CA 02



    NLG, LLC,

           Plaintiff,
    v.

    ELIZABETH HAZAN; an individual;
    UNKNOWN SPOUSE OF ELIZABETH HAZAN;
    an individual; 6913 VALENCIA, LLC,
    a Florida Limited Liability Corporation;
    J.P. MORGAN CHASE BANK, N.A.;
    a foreign Corporation, FISHER ISLAND
    COMMUNITY ASSOCIATION, INC.; a Florida
    Non Profit Corporation; VALENCIA ESTATES
    HOMEOWNERS ASSOCIATION, INC., a Florida
    Non Profit Corporation; and JOHN DOE and
    JANE DOE, individually, as unknown Tenants
    in possession of the Subject Property

           Defendants




                                 ORDER GRANTING FORECLOSURE

           THIS ACTION came before the Court on October 14, 2015, on Plaintiff's Second

    Amended Motion for Judgment of Foreclosure and pursuant to the Florida Rules of Civil

    Procedure and the opinion of the Third District Court of Appeal, the Court hereby FINDS,

    ORDERS AND ADJUDGES as follows:




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            The history of the litigation between the parties was set out in detail when the matter

    went up on appeal to the Third District. The facts and procedural history recited in the opinion

    constitute the law of the case. In its opinion, the Third District stated as follows:

            Facts and Procedural Background

            It is undisputed that NLG sold a home on Fisher Island to Ms. Hazan in 2007 for
    $5,100,000.00, receiving a purchase money note and mortgage on the residence from Ms.
    Hazan for $1,275,000.00 of that amount. The note and mortgage required an instalment
    payment of $300,000.00 one month after the sale, and the note was to mature six months after
    the sale.

            When the required payments were not forthcoming, NLG filed a lawsuit for the
    collection of the promissory note in the Miami-Dade circuit court. A settlement agreement was
    entered into, but required payments again were not made. In April 2008, and in accordance
    with the settlement agreement, a default final judgment on the promissory note was entered
    against Ms. Hazan and in favor of NLG for $1,618,071.29, plus post-judgment interest. That
    judgment was recorded on May 2, 2008. The final judgment was affirmed by this Court. Hazan
    v. NLG, LLC, 995 So. 2d 504 (Fla. 3d DCA 2008}. Ms. Hazan then obtained new counsel and
    moved to vacate the judgment on the promissory note. The motion was denied and Ms.
    Hazan's further appeal was dismissed by this Court. Hazan v. NLG, LLC, 19 So. 3d 319 (Fla. 3d
    DCA 2009}.

            NLG sought and obtained a sheriff's deed to the Fisher Island property by enforcing its
    judgment. Ms. Hazan moved to vacate that deed, however, on the grounds that the property
    was her homestead. The then-assigned circuit judge entered an order in December 2008
    "quieting title," although Ms. Hazan's motion and the record establish that the order merely
    extinguished the sheriff's deed. Later, and in this appeal as well, Ms. Hazan argued that the
    quiet title order also extinguished the lien of NLG's mortgage.

            The parties nevertheless entered into a second settlement agreement, and Ms. Hazan
     made three of the specified payments before defaulting again in February 2009. After
     additional settlement negotiations were unavailing, NLG filed a complaint to foreclose its
     mortgage on the Fisher Island home in 2011. In 2012, NLG amended its complaint to add as a
     defendant the holder of a recorded junior mortgage for $2,000,000.00. NLG alleges that this
     mortgage was given by Ms. Hazan to a sham Florida limited liability company established by her
     mother.

            The foreclosure case proceeded to non-jury trial, and the trial court entered a final
     judgment in favor of Ms. Hazan, incorporating the transcript of his post-trial ruling (January 2,
     2013} into the final judgment "as though set forth herein." This appeal followed.


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    NLG, LLC v. Hazan, 151 So. 3d 455, 455-456 (Fla. 3d DCA 2014)

              The Third District issued its mandate on November 25, 2014.

              Status of the Pleadings After Mandate

              Since the mandate issued, Defendant Hazan has been trying to reopen the case to

    amend her answer and affirmative defenses, starting on December 2, 2014, with the filing by a

    non-party, Sean Neil Meehan, Hazan's husband, of a Satisfaction of Mortgage. NLG filed it

    Motion for Entry of Judgment of Foreclosure on January 6, 2015.             On January 12, 2015,

    Attorney Ray Garcia entered an appearance for Hazan, and proceeded to file eleven Notices of

    Filing.   He followed this with a 65-page Verified Motion to Dismiss and a 64-page Verified

    Memorandum in Opposition to Plaintiff Motion for Entry of Final Judgment. On March 3, 2015,

    this Court denied Hazan's Motion to Dismiss.

              Mr. Garcia then filed a 21-page Motion to Take Judicial Notice of Court Orders, a 64-

    page Motion for Summary Judgment, followed by 17 Notices of Filing. On April 8, 2015, Mr.

    Garcia filed Hazan's Motion for Leave to File Amended Answer, seeking to raise seventeen (17)

    affirmative defenses.

              On May 1, 2015, this Court denied Hazan's Motion to Amend. Thus, as the pleadings

    stand, there is no legal reason to deny NLG a judgment pursuant to the mandate of the Third

    District. In fact, it would be error to do otherwise. See Bank of Am., N.A. v. Lukas, 166 So. 3d

    965, 966 (Fla. 4th DCA 2015), citing Feltus v. U.S. Bank Nat'/ Ass'n, 80 So. 3d 375, 376 (Fla. 2d

     DCA 2012) ("A pleading filed in violation of rule 1.190(a) is a nullity, and the controversy should

    be determined based on the properly filed pleadings.").




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           At that same hearing on May 1, 2015, Attorney Mark Cohen appeared and argued to the

    Court on behalf of Selective Advisors Group, LLC, even though that entity had never moved to

    intervene. Although Mr. Cohen represented to this Court that he did not know what the

    relationship was between Hazan and Selective Advisors, it is undisputed that the sole Managing

    Member of Selective Advisors, Sean Neil Meehan, is Hazan' s husband. After this Court denied

    Hazan's motion to amend, Selective still did not move to intervene. It was not until October 7,

    2015, that Selective Advisors first moved to intervene.       A comparison of the Motion to

    Intervene with Hazan's Proposed Answer and Affirmative Defenses reveals that the Motion is

    trying to inject the very same issues and arguments that this Court ruled could not be

    presented by Hazan.     Nothing happened after May 1, 2015, that would change Selective's

    alleged rights to intervene, other than the fact that they filed a Satisfaction of Judgment of the

    New York Judgment by Confession discussed below. The motion may be rejected as a matter of

    law.

           Intervention

           Under Florida Rule of Civil Procedure 1.230, a motion to intervene may be granted to

    "[a]nyone claiming an interest in pending litigation." Selective Advisors' motion fails to set

    forth what interest it is claiming in the pending litigation.      The ability to intervene is a

    permissive right granted in the trial court's discretion. De Sousa v. JP Morgan Chase, N.A., 170

    So. 3d 928, 929 (Fla. 4th DCA 2015); Andresix Corp. v. Peoples Downtown Nat'/ Bank, 419 So. 2d

     1107, 1107 (Fla. 3d DCA 1982) ("We affirm the trial court's order denying the motion to

     intervene filed by Andresix Corporation upon a holding that Andresix, as a purchaser of




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    property which was then the subject of a mortgage foreclosure action and accompanying lis

    pendens by Peoples Downtown National Bank, was not entitled to intervene in such action.").

           The Florida Supreme Court long ago explained the requirements for intervention. In

    Union Cent. Life Ins. Co. v. Carlisle, 593 So. 2d 505 (Fla. 1992), the Court stated that "[t]he test

    to determine what interest entitles a party to intervene is set forth in Morgareidge v. Howey,

    75 Fla. 234, 238-39, 78 So. 14, 15 (1918):

                  [T]he interest which will entitle a person to intervene ... must be in the
           matter in litigation, and of such a direct and immediate character that the
           intervenor will either gain or lose by the direct legal operation and effect of the
           judgment. In other words, the interest must be that created by a claim to the
           demand in suit or some part thereof, or a claim to, or lien upon, the property or
           some part thereof, which is the subject of litigation."

    Carlisle, 593 So. 2d at 507.

            A careful review of the motion to intervene does not disclose that Selective has any

    interest in the litigation. The Wherefore Clause merely requests intervention. But if Selective is

    trying to collect on the Judgment by Confession, it is undisputed that the judgment has been

    satisfied. Selective's efforts to intervene are a transparent attempt by Hazan's husband, not to

    assert its rights, but to obstruct the foreclosure of his wife's property. To allow intervention by

    Selective would be an abuse of the intervention rule.

            Furthermore, intervention would not achieve such an obstruction. As the Third District

     recently stated in State v. Fla. Workers' Advocates, 167 So. 3d 500 (Fla. 3d DCA 2015), even if

    Selective were allowed to intervene, they would take "the procedural posture of the case as it

    stood when they were allowed to intervene." Id. at 505, citing Omni Nat'/ Bank v. Ga. Banking

     Co., 951 So. 2d 1006 (Fla. 3d DCA 2007). Its intervention would be in "subordination to the

    then-existing claims in the lawsuit." The court then quotes from Envtl. Confed'n of Sw. Fla. Inc.

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    v. IMC Phosphates, Inc., 857 So. 2d 207, 211 (Fla. 1st DCA 2003): "Intervention is a dependent

    remedy in the sense that an intervenor may not inject a new issue into the case . . . .

    Furthermore, the rights of an intervenor are conditional in that they exist only so long as the

    litigation continues between the parties ... "   Fla. Workers' Advocates, 167 So. 3d at 505.

    (emphasis added).

           Moreover, courts are very reluctant to grant intervention after a final judgment has

    been entered. The narrow exception to the rule prohibiting post-judgment intervention arises

    when the interests of justice so require. De Sousa, 170 So. 3d at 930, citing Wags Transp. Sys.,

    Inc. v. City of Miami Beach, 88 So. 2d 751, 752 (Fla. 1956). In De Sousa, the court stated that the

    case did not align with the circumstances in Wags to meet the narrow exception to the general

    rule prohibiting post-judgment intervention, in part because Wags involved the subject matter

    of zoning, not foreclosure. Id.

           Substitution

           The motion to intervene also requests to substitute the party plaintiff based on an

    alleged judicial assignment of a judgment in Case No. 07-19532 that dates back to a non-final

    order entered by Judge Peter Lopez (the "Lopez Order") on August 20, 2014.              As will be

    discussed later, that judgment was judicially assigned while its enforceability was pending in an

    appeal of this case. It is significant that Selective waited over a year since the opinion of the

    Third District was announced to claim that NLG's interest in the litigation had been transferred

    and it was entitled to be substituted under Florida Rule of Civil Procedure 1.260(c).

           This effort suffers from the same infirmity as Selective's efforts to intervene, as it is

     undisputed that there is no outstanding judgment against NLG. Nothing prevented Selective


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    from filing its motion after August 20, .2014, other than Mr. Meehan hoping that his wife would

    prevail in the pending appeal. The only new developments since August 20, 2014, are (1) the

    opinion reversing this case and the subsequent mandate, and (2) the Consent Judgment from

    the New York State Court that was domesticated in Miami-Dade County under Case No. 14-

    10475, which has been dismissed as the underlying judgment has been satisfied.

           Selective Advisors' Arguments

           Even though Selective Advisors should be denied leave to intervene as a matter of law,

    this Court will discuss the arguments raised by it. In a nutshell, Selective's motion seeks to

    argue that this action cannot proceed because NLG has lost all its rights against Hazan.

           First, the motion seeks to have Selective substituted as party plaintiff, based on the

    Lopez Order" in Case No. 14-10475. Selective argues that this order allows it to stand in the

    shoes of NLG ostensibly to collect on a New York Judgment by Confession that had been

    domesticated in that case. However, on October 1, 2015, the case was dismissed by Judge

    Lopez, stating: "It appearing the judgment has been satisfied of record, this cause is dismissed

    & no further proceeding will be taken." Because it is undisputed that the underlying judgment

    has been satisfied and the Florida case domesticating that judgment has been dismissed,

    Selective's right to stand in the shoes of NLG have been likewise extinguished.

           Next Selective argues that a judgment entered in Case No. 07-19532 CA 11 was assigned

    to it in the Lopez Order. NLG had obtained a Default Final Judgment on April 28, 2008, in the

    amount of $1,618,071.29, against Hazan ("Default Judgment"). In the foreclosure action filed

    on December 21, 2011-long before the 2014 Judge Lopez domestication action-NLG sought

    to foreclose on the money due under the Default Judgment in both the initial complaint and the


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    amended complaint. In Paragraph 10 of the Amended Complaint that was tried on December

    26 and 27, 2012, NLG pleaded the Default Judgment. In her Answer, Hazan's second and third

    affirmative defenses asserted that the Default Judgment was not owned by NLG. The sixth

    affirmative defense alleged that NLG improperly split its causes of action by obtaining a Default

    Judgment on the promissory note without pursuing a foreclosure at that time. The seventh

    affirmative defense was that NLG was forum shopping by filing a new action instead of

    proceeding under the same case in which it had obtained the Default Judgment. The eighth

    affirmative defense was that after obtaining the Default Judgment, NLG entered into a

    settlement agreement with Hazan that did not reserve the right to foreclose and now its only

    remedy was under the Default Judgment. The ninth affirmative defense was that NLG was

    limited to enforcing the Default Judgment in the division in which it was obtained.

                The case went to trial on December 26 and 27, 2012, at the end of which Judge Eig

    entered judgment in favor of Hazan by way of a "Final Judgment for Defendant Elizabeth

    Hazan" dated February 8, 2013. That was the judgment which was appealed to the Third

    District.     The District Court heard oral argument on July 14, 2014, and issued its opinion

    reversing the final judgment on September 3, 2014. It subsequently issued its mandate on

    November 25, 2014.

            As can be seen from this chronology, at the time of the entry of the Lopez Order, there

    was no Default Judgment that could have been assigned, as that judgment had been subsumed

    into the final judgment in favor of Hazan. See Geico Gen. Ins. Co. v. Paton, 150 So. 3d 804, 808

    (Fla. 4th DCA 2014) (stating that the final judgment subsumed an earlier order).




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            Even if the Default Judgment survived the Final Judgment in favor of Hazan, the issue of

    its enforceability was an integral part of the litigation and trial in this case, not a collateral

    matter. In fact, in its Answer Brief to the Third District, it was Hazan's first argument-that the

    trial court correctly found that NLG was limited to the remedy of its existing money judgment

    because of the doctrine of election of remedies.         Clearly the enforceability of the Default

    Judgment was the central issue before the Third District after the filing of the Notice of Appeal

    on March 11, 2013.     In fact, in its Analysis, this is the first issue discussed in the district court

    opinion: "First, NLG's prior suit on the promissory note and recordation of a judgment on the

    note was not an election of remedies precluding the later enforcement of the mortgage." NLG,

    LLC v. Hazan, 151 So. 3d 455, 456 (Fla. 3d DCA 2014}.

            It is well established that while an appeal is pending, the lower court may not enter

    orders that will deprive the appellate court of jurisdiction. During the appeal, the lower court's

    jurisdiction is limited to enforcing the judgment. See Wassman v. Travelers Cas. & Sur. Co., 797

    So. 2d 626, 631 (Fla. 5th DCA 2001} ("It is also clear that 'when a case has merged into a final

    judgment and an appeal has been perfected therefrom ... jurisdiction in the trial court

    terminates, except as to enforcement of the judgment."'), citing State ex rel. American Home

    Ins. Co. v. Seay, 355 So. 2d 822, 824 (Fla. 4th DCA 1978). See also Waltham A. Condominium

    Asso. v. Village Management, Inc., 330 So. 2d 227, 229 (Fla. 4th DCA 1976} (stating that "the

    trial court is without power to finally dispose of the cause by dismissal or otherwise so as to in

    form or effect interfere with the power and authority of the appellate court."); see also State ex

    rel. Schwartz v. Lantz, 440 So. 2d 446, 448-449           (Fla. 3d DCA 1983} (stating that "Since

     Waltham, every district court in this state has, at least once, vacated a trial court order because


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    it altered a judgment on appeal.") (citing numerous cases). And see Fulton v. Poston Bridge &

    Iron, Inc., 122 So. 2d 240, 242 (Fla. 3d DCA 1960) (quoting from Corpus Juris Secundum that

    "the lower court has no jurisdiction, pending an appeal by amendment of the record or

    proceedings or otherwise, to change the status of the case or to interfere with the rights of

    parties under the judgment or order."); Fritz v. Sroczyk, 202 So. 2d 796, 798 (Fla. 1st DCA 1967)

    ("Upon the filing of the notice of appeal the trial court lost jurisdiction to take any further

    ac t .ion...") .

               It is axiomatic that this Court in whose division the foreclosure action had been filed

    since 2011, had no jurisdiction to judicially assign the Default Judgment during the appeal, as

    the validity and enforceability of the judgment was pending before the Third District. Thus,

    while the foreclosure suit was pending before the Third District, the only proper remedy for

    Selective to pursue would have been to seek leave from the appellate court to relinquish

    jurisdiction for the purpose of judicially assigning the judgment. Selective chose not to elect

    that remedy.

               The "New York Judgment by Confession"

               The foreclosure action in this case was tried by Judge Eig on December 26 and 27, 2012.

    None of the nine affirmative defenses mentioned the New York Judgment by Confession.

    Hazan made a strategic decision not to try this issue.

               It was not until April, 2014, that Quebec, Selective and Hazan started their efforts to

    enforce the aforementioned Consent Judgment from the New York State Court that was

    domesticated in Miami-Dade County under Case No. 14-10475. It is undisputed that that the

    Domesticated New York Judgment has been dismissed as the underlying judgment has been


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    satisfied.   On April 4, 2014, Selective Advisors Group LLC was incorporated in Delaware.

    Quebec filed the New York Judgment by Confession in Miami-Dade County on April 21, 2014.

    Shortly thereafter, on April 30, 2014, Quebec assigned the judgment to Selective.

            On July 14, 2014, the Third District held oral argument where the issue of whether the

    mortgage was wiped out by NLG obtaining its Default Judgment entered on April 28, 2008,

    played a prominent part. Instead of moving the Third District to relinquish jurisdiction to assert

    the New York Judgment by Confession, or seeking to intervene in the foreclosure case, which

    was the older case in this division, Selective instead obtained the domestication Order on

    August 20, 2014.

            The docket sheet in the New York Judgment by Confession case shows that NLG had

    already moved to vacate the judgment and had a hearing scheduled for August 6, 2014. The

    matter was adjourned to September 29, 2014; November 10, 2014; December 1, 2014; January

    12, 2015; March 16, 2015; and to May 18, 2015. This court had repeatedly stayed ruling on this

    matter in order to allow the parties a chance to argue the Motion to Vacate the Judgment

    before the New York Court. On this last court setting, Selective, the judgment creditor, filed a

     bankruptcy petition two hours before the scheduled time, in the U.S. Bankruptcy Court for the

    Eastern District of New York, apparently using the bankruptcy stay to avoid the vacatur hearing

    before the New York State Court Judge on the Judgment by Confession. ·The bankruptcy

     petition was signed by the manager of Selective, Sean N. Meehan (Ms. Hazan's husband). The

     Court appointed Marc Pergament as Trustee for the Estate.




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             On July 1, 2015, the Trustee conducted an examination under oath of Mr. Meehan.

    The sole creditor listed was Selective's prior attorney, Joseph Nierman, who was alleged to be

    owed $3,500. The sole asset was the Judgment by Confession, premised on an Affidavit signed

    by Raymond Houle who claimed to be president of Quebec while simultaneously acting as

    manager of NLG. "The Affidavit of Confession did not provide any additional information to

    substantiate the basis for the Judgment." (Affirmation, Par. 9). Mr. Meehan was placed under

    oath and he testified "that he had no knowledge of the underlying basis for the Judgment and

    that he claimed that no money was paid to Quebec for the Assignment of the Judgment, except

    there was an unspecified "deal' whereby [Selective] would pay a certain amount to the Assignor

    upon collection of the Judgment." (Affirmation, Par. 10).

             Mr. Meehan also testified about the pending foreclosure of 6913 Valencia Drive, Fisher

    Island, Florida, which is also his residence. He disclosed that title is held by his wife, Elizabeth

    Hazan.    The Trustee then stated in Paragraph 17:              "As Mr. Meehan's testimony was not

    plausible with respect to the entry of the Order and Judgment [signed by Judge Jean K.

    FitzSimon in the Pennsylvania bankruptcy] nor with respect to the underlying Judgment [the

    Judgment by Confession], I believe that dismissal of this case with prejudice is appropriate ..."

    The Trustee also found the excuse for the filing of the bankruptcy - the claim of Mr. Nierman

    for fees - to be "suspicious." (Affirmation, Par. 19).

             In its motion to intervene, Selective states in Par. 27: "With respect to New York, NLG

    has failed to re-file or restore its motion to vacate Selective's Judgment, after Selective's



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     The Trustee submitted an Affirmation in Support of a dismissal with prejudice in Case No. 815-72153-A736 which
    was the subject of a motion by NLG to take judicial notice and Hazan having filed no objection, the motion is
    hereby granted and the Affirmation is attached as Exhibit "A."

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    bankruptcy was dismissed on August 28, 2015, even though two months have elapsed from

    that date." What Selective leaves out is that NLG did indeed attempt to schedule once again on

    September 3, 2015, its motion to vacate the Judgment by Confession by way of letter to the

    presiding judge. This prompted a letter dated September 4, 2015, to the presiding judge from

    Selective's New York lawyer, James F. Vlahadamis. The letter stated that plaintiff had accepted

    payment in full satisfaction of the judgment, making it "unsuitable for this Court to entertain

    any application of NLG, LLC (such as one filed by letter on September 3, 2015) seeking to

    restore the motion to vacate the judgment as there currently exists no judgment to vacate and

    the matter remains moot." 2 At the hearing on NLG's motion for entry of a judgment based on

    the mandate of the Third District, Selective offered no explanation as to why it took from

    August 20, 2014, to September 4, 2015, for the judgment to be satisfied.

               The New York Judgment by Confession may have been entitled to full faith and credit

    while it was an outstanding judgment. The judgment, however, has been satisfied. There is no

    judgment entitled to deference by the courts of Florida.

               But even if the judgment was still outstanding, the U.S. Supreme Court has stated that

    "[a] judgment rendered in violation of due process is void in the rendering State and is not

    entitled to full faith and credit elsewhere." World-Wide Volkswagen Corp. v. Woodson, 444 U.S.

    286, 291, 100 S. Ct. 559, 62 L. Ed. 2d 490 {1980). As the Trustee stated after conducting an

    examination under oath of Mr. Meehan, the Judgment by Confession was entered with Mr.

    Houle acting for both the plaintiff and the defendant. The records submitted by Selective in its

    motion to intervene shows that NLG received no notice or opportunity to be heard because


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        The letter is attached as Exhibit "B."

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    Houle was acting for both Quebec and NLG. Without notice, a foreign court lacks personal

    jurisdiction, and the "foreign judgment need not be recognized." Williams v. Cadlerock Joint

    Venture, L.P., 980 So. 2d 1241, 1243 {Fla. 4th DCA 2008).

           By continuously postponing the hearing on NLG's motion to vacate before the New York

    court, NLG has never had a full and fair opportunity to litigate the issue of personal jurisdiction

    in the foreign court. See Whipple v. JSZ Fin. Co., Inc., 885 So. 2d 933, 936 {Fla. 4th DCA 2004);

    Williams, 980 So. 2d at 1243; see also Stoll v. Gottlieb, 305 U.S. 165, 172-73, 59 S. Ct. 134, 83 L.

    Ed. 104 (1938) ("After a party has his day in court, with opportunity to present his evidence and

    his view of the law" as to jurisdiction, "a former judgment in a state court is conclusive" and not

    subject to collateral attack).

            If a defendant has not had "the opportunity to contest jurisdiction, he may raise the

    issue subsequently in a proceeding brought to enforce the judgment." Williams, 980 So. 2d at

    1243 (citation omitted). See also Riskin v. Miklos, 569 So. 2d 940, 941 (Fla. 3d DCA 1990)

    ("[W]here the jurisdictional issue is not fairly litigated in the initial court, the defendants are

    free to raise the question de novo in the jurisdiction in which enforcement of the judgment is

    attempted.").




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           Conclusion

           For the foregoing reasons, the Second Amended Motion for Judgment of Foreclosure is

    hereby GRANTED. The Court will hereafter enter a Final Judgment of Foreclosure upon the

    presentation of updated affidavits.




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           ORDERED at Miami, Miami-Dade Cou.nty, Florida, on this 1' day of December, 2015.




                                              Circuit Court Judge

    Judgment Prepared by:
    Plaintiffs Counsel:                              MONICA GORDO
    Juan Ramirez, Jr                              CIRCUIT COURT JUDGE
    Diaz, Reus & Targ, LLP
    100 SE 2nd Street, Suite 3400
    Miami, Florida 33131

    Copies Furnished to:

    Roger Slade, Esq.
    Jonathan S. Goldstein, Esq.
    Matthew David Glachman, Esq.
    Mark Cohen, Esq.
    Daniel A. Milian, Esq.
    Bruce Jacobs, Esq.




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                      EXHIBIT ''A''
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(        UNITED STA TES BANKRUPTCY COURT
         EASTERN DISTRICT OF NEW YORK
         --------------------------------------------------------)(
         In Re:                                                         Chapter 7

         Selective Advisors Group LLC,                                  Case No. 815-72153-A 736

                           Debtor.                                      Affirmation in Supp011

         --------------------------------------------------------)(

                           Marc A. Pergament, duly affirms under the penalties ofpe1ju1y as follows:

                           1.        I am an attorney admitted to practice law in the United States Court of

         Appeals for the Second Circuit and the United States District Court for the Eastern and Southern

         Districts of New York and am a member of Weinberg, Gross & Pergament LLP, attorneys for

         the Trustee.

                           2.        I am also the Trustee of this Estate and am familiar with the facts and
(
         circumstances set forth herein.

                           3.        This Affirmation is submitted in support of my request that the Court

         scheduling a hearing on shortened notice: (a) approving the dismissal of this bankruptcy case

         with prejudice; (b) authorizing the Debtor to pay Weinberg, Gross & Pergament LLP the sum of

         $6,500.00 for services rendered; and (c) such other and forther relief that this Court deems just

         and proper.

                           4.        On May 18, 2015, the Debtor filed a voluntary petition for relief under

         Chapter 7 of the Bankruptcy Code. The initial bankruptcy filing was a bare bones petition filed

         by the Debtor. The manager who signed the petition was Sean N. Meehan. Mr. Meehan failed

         to appear at the§ 34l(a) meeting scheduled for June 24, 2015. The Debtor's counsel appeared

         on that date and requested an adjomnment of the 341 (a) meeting.

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(                       5.     I directed the Debtor to file all necessary schedules and a Statement of

         Financial Affairs by June 30, 2015 and appear for an examination pursuant to§ 34l(a) on July 1,

         2015. A further request for an adjournment of the § 341 (a) meeting was declined.

                        6.     On July l, 2015, Mr. Meehan appeared for an examination with Debtor's

         counsel after the Debtor had filed the schedules and Statement of Financial Affairs, which were

         filed on June 30, 2015.

                        7.     My review of the file, schedules and documents that had been previously

         provided to me indicated that there arc many facts that questioned the good faith filing by the

         Debtor in this Chapter 7 case.

                        8.     Specifically, the schedules revealed that the sole creditor of the Debtor

         was its former attorney, Joseph Nierman, and he was alleged to be owed the sum of $3,500.00.

         The Debtor's Schedule F indicated that it was a disputed claim.
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                        9.     The Debtor's counsel disclosed that the Debtor was formed in August

         2014 and its sole asset was a Judgment that it held by way of Affidavit of Confession of

         Judgment against NLG LLC in the sum of$5,000,000.00, plus interest. The Judgment, however,

         was based on an Assignment by 9197-5904 Quebec Inc. to· the Debtor of a Judgment that it had

         obtained against NLG LLC, which had been filed in the New York County Clerk's office on

         February 22, 2012. A copy of the Assignment of Judgment is annexed hereto as Exhibit "A."

         However, that Judgment was premised on an Affidavit signed by Raymond Houle who claimed

         to be the president of 9197-5904 Quebec, Inc., and was also the manager of NLG LLC. The

         Affidavit of Confession did not provide any additional information to substantiate the basis for

         the Judgment. A copy of the Affidavit of Confession of Judgment ofNLG LLC and Affidavit of

         Raymond Houle is annexed hereto as Exhibit "B."

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(                       10.    After applying the oath, I questioned Mr. Meehan at his § 341 (a) meeting

         concerning the Judgment and he advised me that he had no knowledge as to the underlying basis

         for the Judgment and that he claimed that no money was paid by the Debtor to 9197-5904

         Quebec, Inc. for the Assignment of the Judgment, except that there was an unspecified "deal"

         whereby the Debtor would pay a certain amount to the Assignor upon collection of the

         Judgment.

                        11.    As I questioned Mr. Meehan in depth at the§ 34l(a) meeting, it became

         apparent that the Judgment was the subject of a contentious dispute with NLG LLC. I reviewed

         certain public records and certain information which indicated that there is a pending foreclosure

         lawsuit in the State of Florida with respect to the real property known as 6913 Valencia Drive,

         Miami, Florida ("Miami Residence") and the Miami Residence was also Mr. Meehan's

         residence.   Mr. Meehan disclosed that title to the Miami Residence was held by his wife,
(
         Elizabeth Hazan, and that she was in a dispute with NLG LLC concerning foreclosure of the

         Miami Residence.

                        12.    Mr. Meehan testified that he filed bankruptcy in the United States

         Bankruptcy Court for the Eastern DislTict of New York because the place of business of this

         Debtor was 103 West Tano Road, Hampton Bays, New York ("Hampton Bays Residence"),

         which is the residence of Mr. Meehan's parents and he claims that he sometimes spends the

         summers at the Hampton Bays Residence, although he does not presently reside there.

                        13.    Thus, there is a question as to the validity of the venue selected by

         Mr. Meehan for this bankruptcy case.

                        14.    I was in communication with NLG LLC's counsel and he provided me

         with substantial information and documents, including documentation indicating that the United


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(        States Bankruptcy Court for the Eastern District of Pennsylvania had previously determined that

         an involuntary bankruptcy proceeding that had been filed against Christopher Kosachuk was a

         bad faith filing and that Court determined that an award of monetary sanctions of$190,173.71 in

         favor of Mr. Kosaclmk and against 9197-5904 Quebec, Inc. was warranted. A copy of that Order

         and Judgment of the Honorable Jean K. FitzSimon is annexed hereto as Exhibit "C,"

                        15.    Judge FitzSimon's Judgment also awarded sanctions against 9197-5904

         Quebec, Inc. in the sum of $960,968.55.

                        16.    The dispute with respect to the Judgment is evident.

                        17.    As Mr. Meehan's testimony was not plausible with respect to the entry of

         the Order and Judgment nor with respect to the underlying Judgment, I believe that dismissal of

         this case with prejudice is appropriate so the Debtor and NLG LLC can continue their litigation

         in other forums.
(
                        18.    NLG LLC had moved by order to show cause to vacate the Judgment that

         had been filed by 9197-5904 Quebec, Inc. and the bankruptcy was filed a couple of hours before

         the hearing to be heard by the Supreme Court of the State of New York, County of New York,

         on May 18, 2015 for the vacating of the Judgment as NLG LLC had not learned of that Judgment

         until 2015.

                        19.    I inquired of Mr. Meehan as to the claim of Mr. Nierman and he explained

         that there was a dispute as to the amount owed and that reason for the bankrnptcy filing was that

         Mr. Nierman was refusing to turnover his litigation file concerning the dispute with NLG LLC. I

         found that claim to be S\Jspicious as the Debtor already had obtained an Assignment of Judgment

         of 9197-5904 Quebec, Inc. against NLG LLC and thus, the litigation file was of no import. Mr.

         Meehan was unable to provide any explanation.

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(                        20.        For these reasons, I negotiated a resolution whereby this case is dismissed

         with prejudice and my firm is paid for services rendered. A copy of the Stipulation is annexed

        ~hereto   as Exhibit "D."

                          21.       I have requested a hearing on shortened notice as the Debtor would be

         benefited by a lengthy delay.

                         22.        It is also requested that this Court waive the requirement of the filing of a

         memorandum of law as no novel issu(;) of law is present with respect to the issues herein.

                         23.        No prior application has been made to this or any other Court for the r(;)Iief

         requested herein.

                         WHEREFORE, it is respectfully requested that this Honorable Court grant the

         Trustee's motion in its entirety and such other and further relief that this Court deems just and

         proper.
(
         Dated: Garden City, New York
                August 6, 2015




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                                      EXHIBIT A

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        I.




(
         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK                                                                Index No. 10187512012
         -----------·--·------···--··-----·---·-------··-----------···-·X
         9197 ·5904 QUEBEC INC
          Plaintiff,


                                   -against-


             NLG LLC
                                                Defendant


                                               ASSIGNMENT OF JUDGMENT
                                                                                                                        ..
                                                                                                                       .i=-
                                                                                                                       -1:""
                                                                                                                       N
             This indenture made the 30th day of April 2014, between 9197-5904 Quebec inc a Canadian Corporation located
             at 5552 Queen Mary Road Suite #4, City of Hampstead, State of Quebec, Canada H3X 1V9 party of the first part.
             and Selective Advisors Group, LLC, located at 16192 Coastal Highway Lewes. Delaware 19958 County of·
             Sussex, party of the second part,



             WHEREAS, on lhe 22"" day of February,2012 a judgment was entered In the Supreme Court, County of NY, in
             favor of 9197-5904 Quebec Inc , and against NLG LLC, a Delaware Limited Llabllily Company located at 854
             Pheasant .Run Road, West Chester, PA in the sum of $5,000,000.00 plus Interest from February 22"" 2012 plus
             costs of $225.00, and said judgment was duly entered in the office of the Clerk of the Co(1nty of New York State,
             NY on the 22"" day of February 2012.   .
(

             NOW THIS INDENTURE Vl/ITNESSETH, that the said party of the first part, in consideration Of $10 and other
             valuable consideration to them duly paid has sold, and by these presents does assign, transfer and set over, unto
             the said party of the second part, Selective Advisors Group, LLC, its executors, administrators, and assigns, the
             said judgment and all sum or sums of money that may be had or obtained by means thereof, or on any
             proceedings to be had thereupon.



             Also, the said party of the first part does hereby constitute and appoint the said party of the second part, its
             executors, administrators, and assigns, their true and lawful attorney irrevocable, with power of substitution and
             revocation, for the use and at the proper costs and charges of t11e said party of the second part, to ask, demand,
             and receive, and to obtain executions, and take all lawful ways for the recovery of the money due or to become
             due on said judgment and on payment to acknowledge satisfaction, or to discharge the same; and attorneys one
             or more under them for the purpose aforesaid, to make and substitute, and at pleasure to revoke; hereby ratifying
             and confirming all that their said attorney or substitule shall lawfully do In the premises. Also, the said party of the
             first part does covenant, that that they will not coll~ct or receive the full payment of the judgment, or any part
             thereof, nor release or discharge the said judgment but will allow all lawful proceedings therein lo be taken by the
             said party of the second ·part, saving the ~aid party of the fist part harmless of and from any costs in the
             premises.. This assignment is made without recourse to the party of Iha first part in any event whatsoever.




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(             IN WITNESS WHEREOF, the par1y of the first part has hereunto set his hand and seal the day and
              year first above written.

                                                                        On behalf of 9197-5904 QUEBEC INC:


                                                                             «~Mcf ~
                                                                             RAYMOND HOULE, president




                                                 ACKNOWLEGEMENT



              9~
              Slate-of

              County of   :D'\:Kc~ ~\cG&r
              On the       ~ day of         dl),JR,,     in the year20J1L.  before me, Raymond Houle, personally
              appeared, personally known to me or proved to me on the basis of satisfactory evidence to be the
              Individual whose name is subscribed to the within instrument and acknowledged to me that he
              executed the same in his capacity and that by his signature on the instrument, the individual, or the
              person upon behalf of which the individual acted, executed the instrument
(




                                              CERTIFICATE OF CONFQBMITY

              l~l\.Q ttJ2,,,:\a f ~;.f, a duly licensed notary public in the Province of Quebec, Canada, affirm
              under penalty of perjury and ce11ify that I witnessed the signature of Raymond Houle as applied to the
              docwnenl annexed to this certificate, which was signed and dated on Junc_M 2014. The matter in which
              was signed was, and is, in accordance with, and confonns to, the laws for laking oaths at
              acknowledgments, in the Province of Quebec, Canada.

              Dated:
                         d1u~1'-/()014~5~
                                               NOTARY PUBLIC
                                               NAME:
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                           SUPREME COURT OF THE STATE OF NEW YORK
                           COUNTY O.F NEW YORK
                                                                                     •                       Address of Plaintiff:
                                                                                                             3765 Saint-Kevin, Ste 9
                                                                                                             Montreal, Quebee H3T !HS
                                                                                                             Canada

                           9197-5904 Quebec, Inc,                                                            Index No.:
                                                                        Plnlntlff,
                                                                                                             JUDGMENT BY
                                                                                                             CONFESSION
                                     against

                           NLG, LLC, a Delaware Limited Liability Company,
                                                                                                                      12101875
                                                                        Defend1mt.



                              Amount Confessed                           $5,000,000.00
                                     Interest                            $0,00                               $ 5,000,000,00

                              Costs by Statute             $15,00----
                              Tra11script _ _- _-_-
                                                  _-_-_-_-___     _ __
                              Fees on Execution
                                                ----~-------
                              Satisfaction
                                           ~-------------
                              Fi Ii ng Fee_ _ _ _ _ _ _ _$210,00_ _ __                                       $ 5,000,225,00

                                     The undersigned, Attorney at Law of the State of New York, affinns that he is the

                              attorney of record for the Plaintiff herein and states that the disbursements specified are correct

                              and true and have been or will necessarily be made or incurred herein and are reasonable in

                              amount and affirms this statement to be true under the penalties of perjury.

                              Dated: February 16, 2012
                                                                                         MARZEC LAW JilRM, PC

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                                                                       itd.
                                   JUDGMENT entered the           22      day of~· 200                              ·
                                   On the foregoing affidavit of Confession of Judgment n@e by the defendant herein,

                        sworn to the on the 16th day of February 2012,



                                   NOW, ON MOTION OF MARZEC LAW FIRM, PC, attorney for plaintiff, it is



                                   ADJUDGED that 9197-5904 Quebec, Inc, Plaintiff, with the address of 3765 Saint-

                        Kevin, Suite 9, Monteal, Quebec H3T IH8, Canada, do recover ofNL6> LLcfbefendant, with

                        the address of 6499 North Powerline Road, Suite 304, Fort Lauderdale, Florida 33309, the sum

                        of $5,000,000.00 with interest of $0.00, making a total sum of $5,000,000.00 together with

                      t~    ,o()    ·costs and dis b11rseu1ents, (\$ tAteJ bg -tke. c\eltK   amounting in all to the sum of

                        $5,000,225.00 and that the plaintiff have execution therefor.
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(
                   SUPREME COURT OF THE STATE OF NEW YORK
                   COUNTY OF NEW YORK
                                                                             ••                                                    '


                   9197-5904 Quebec, Inc.,
                                                                Plaintiff,                                AFFIDAVIT OF
                                                                                                          CONFESSION OF
                           against                                                                        JUDGMENT
                   NLG, LLC, ft"" Oe ("'"'t-'.{ l1 rt• Tii'D                      r
                      t,.1 (\ f">I /,.I f '( l/I>"'"' f ft 1-.;t(
                                                                /
                                                                  Defendant.            fF ILE D ·
                   STATE OF NEW YORK                                                           FE:8 22 ~812
                   COUNTY OF NEW YORK                           ss.:                  COUNTY~ rn:r.....
                                                                                         New VO!M<:- .. 11'¢
                                                                                      lh..
                            Raymond Houle, being duly sworn, deposes and says; that deponent is the Manager and

                   duly authorized agent of the defendant Limited Liability Company Md is duly authorized to

                   make this Affidavit on behalf of the LLC defendant herein.

(                           The defendant hereby confesses judgment herein and authorizes entry thereof against

                   defendant in the sum of$5,000,000.00.

                            Defendant's address is 6499 North Powerline Road, Suite 304, Fort Lauderdale, Florida

                   33309; Defendant authorizes entry of judgment in New York County, New York, if said

                   residence address is not in New York State,

                            This confession of judgment is for a debt justly due to the plaintiff arising from the

                   following facts: Fraud and Abuse of Process.

                          This affidavit, if made in connection with all agreement for the purchase for
                   $1,500.00 01· less of any commoditiell for any use other than a commercial or business use
                   upon any plan of deferred payments whereby the price 01· cost is payable in two or more
                   Installments, was executed, subsequent to the time a default occurred in the payment of an
                   Installment thereunder.                                        --;                     '       /

                                                                                  ~~~W:~
                                                                                                                /
                   Sworn to before me this                           ....
                    i.h. day of :F,;t!,,,,.,_._ • 2012               9197-5901 Quobe<, Inc. byllayinond Hoo le, M•n•g<r '
                                  ~                                    M; "'l'r6-P/2t f1/t,,6- (;" c_.
                                                                                                  Darius A. Mar?.60
                                                                                         Notary Public State of New York
(                                                                                              No. 02MA6186309
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                SUPREME COURT Olt' THE STATE OF NEW YORK
                COUNTY OF NEW YORK                                                            Index No. ( cJ..   '(;7r:/ ~
                9197·5904 Quebec, Inc.,
                                                               Plaintiff,                 AFFIDA VJT OF
                                                                                          RAYMOND HOULE
                         against                                                          REGARDING FACTS
                                                                                          SUPPORTING
                                                                                          JUDGMENT
                NLG, LLC,

                                                               Defendant.

                STATE OF NEW YORK

                COUNTY OF NEW YORK                             ss.:

                          Raymond Houle, being duly sworn, deposes and says; that deponent is the Manager and

                duly authorized agent of the defendant Limited Liability Company and is duly authori1,ed to

                 make this Affidavit on behalf of the LLC defendant herein.
(
                         This confession of judgment is for a debt justly due to the plaintiff arising from the

                 following facts: Defendant has consistently abused its legal position by filing frivolous litigation

                 documents, affidavits, pleadings, and motions, in and without the state, misrepresenting the truth

                 concerning key facts regarding the mode of operation, personnel, employees, corporate

                 documents and status of defendant; Defendant has failed to abide by rules of court with respect

                 to discovery, disclosures and subpoena power of the court and counsel, and has made litigation

                 process difficult, wasteful, and expensive to adversary/ies. All actions of Defendant constitute

                 abuse of process and fraud upon the court and parties iiwolved, who were unduly damaged by

                 such fraudulent conduct and abuse of process by Defendant The conduct of Defendant was

                 intentional and malicious and calculated to cause additional expense, delay and harassment to

                 defendant's adversaries; such conduct was illegal, improper, unethical and unnecessary to the .

                 administration of justice and process in these matters, giving Plaintiff a cause of action.
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(                                                                                                         4~c1Y
                                                                                                        RAYMOND HOULE
                              Sworn to befor(j me o11 the dJ_ day of    f'eb,=-v .20J.l..
                         ~-          >
                        ~~P~u~bl~ic"".":'===)~=-~~~--,



                                                                                                              Dariu$ A. Marzec
                                                                                                       No1ary Publ!c State of Nel'/ York .
                                                                                                             No. 02MA6186309
                                                                                                         Qualified In Queens County
                                                                                                      commission Expires 04/28/2Q..i.2...




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                                                                                                                                                          .
                   SUPREME COURT OF THE STATE OF NEW YORK
                   COUNTY OF NEW YORK                     index No.

                   9197-5904 Quebec, Inc.,
                                                                   Plaintiff,

                              against

                   NLG, LLC., .(\-           01£ Ut '-<tr f, t
                                           l Of.".Pf'.vi1
                                                                    Defendant.



                                                       JUDGMENT BY CONFESSION
                                                 AFFIDAVIT OF JUDGMENT BY CONFESSION


                                                            ATTORNEYS FOR PLAINTIFF
                                                               Marzec Law Firm, P,C,                                            FILED AND
                                                                   Darius A. Marzec, Esq.                                       OOt~K~T~D
                                                                  225 Broadway, Suite 3000                                          f EB 2 2 2014/l
(                                                                   New York, NY 10007
                                                                       212-267-0200                                           AT      (D'.dSrl                M
                                                                                                                              N,Y., 00, C~ OfAClii
                                                                     CERTIFICATION

                              Pursuant to Section 130-1. l, the following documents are hereby ce11ified;


                                                                  --------------=--
                                                  ~~By: ~oritts A. ci::2;£sq.
                                                                                                                                      .
                                                                                                                 MARZEC LAW FIRM PC
                                                                                                                 Attorneys for Plaintiff
                                                                                                                 225 Broadway, Ste. 3000
                                                                                                                 New York, NY 10007
                                                                                                                 (212) 267-0200




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(
                                  IN THE UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA

              In re:                                             DISMISSED CHAPTER 7 INVOLUNTARY

                                                                 CASE NO. 12-16438(JKF) *SEALED*
              CHRISTOPHER   KOSACHUK,                 a.k.a.
              CHRIS KOSACHUK



                                           ORDER AND FINAL JUDGMENT


                       Upon consideration of the Motion of Christopher Kosachuk to Declare this Involuntary

              Bankruptcy Petition a Bad Faith Filing, for Costs, Compensatory and Punitive Damages, to Seal

              the Records and Sanctions (the "Motion") with respect to 9197-5904 Quebec, Inc. and the

              arguments of counsel and evidence admitted at the trial conducted before this Court on March

              18, 2015, it is ORDERED, ADJUDGED AND DECREED:
(
                       I.     The Motion is GRANTED as to 9197-5904 Quebec, Inc. without effect on the

              Motion as to the claims asserted and relief sought in the Motion against Daril)s A. Marzec, Esq.


                       2.     Final Judgment for monetary sanctions in the amount of$192,173.71 pursuant to

               11 U.S.C. §§ 1OS(a) and 303(i)(l), representing the reasonable costs and attorneys' fees incurred

              by Mr. Kosachuk in this matter, is awarded to Chris Kosachuk against 9197-5904 Quebec, Inc.,

              plus prejudgment interest and post judgment i.nterest at the federal judgment rate of interest.
                                                                                                 . !§'
                       3.     Final Jµdgment for monetary sanctions in the amount    or[}!/Jfli1l.. JiUrsuant to
               11 U.S.C. § 303(i)(2)(B) and this Court's inherent powers, representing punitive damages, is

               awarded to Chris Kosachuk against 9197-5904 Quebec, Inc., plus prejudgment interest and post

              judgment interest at the federal judgment rate.


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(
                      4.     Final Judgment pursuant to I I U.S.C. § 1OS( a) and this Court's inherent powers,

              is awarded to Chris Kosachuk that the indebtedness of Chris Kosachuk with respect to that

              certain judgment issued by the Supreme Court, County of New York, under Index No.

              103896/2004 in favor of Eugenia Lorret and against Chris Kosachuk in the sum of$150,732.45

              accounting for $108,293.54, plus interest of$41,388.91 from November 25, 2002, plus costs of

              $1,050, and which judgment was thereafter modified and reduced on May 12, 2008 to the sum

              amount of$48,293.54, plus costs of$1,050, plus interest from November 25, 2002, and which

              judgment was assigned to 9197-5904 Quebec, Inc. on December 15, 2009 by Assignment of

              Judgment, and which judgment was further assigned to SRS Techonologies Professionals, LLC

              by Assignment of Judgment, dated February 10, 2014, Index No. 103896/2004, and Corrected

              Assignment of Judgment, dated February    !(),   2014, is hereby cancelled nunc pro tune to July 6,

              2012.
(
                       5.    This Final Judgment may be recorded as a matter of public record.

                       6.    This Final Judgment is effective immediately upon entry and this Court shall

              retain jurisdiction to, among other things, interpret, implement, and enforce the terms and

              provisions of this Order and Final Judgment.

                       7.    Chris Kosachuk shall be entitled to writs of execution and all other legal process

              to enforce this Final Judgment permitted by Federal Rules of Bankruptcy P           ure, the Federal

              Rules of Civil Procedure and applicable law.

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(           UNITED STATES BANKRUPTCY COURT
            EASTERN DISTRICT OF.NEW YORK
            ----------------------------------------------~----·-----:X:
            In Re:                                                          Chapter7

            Selective Advisors Group LLC,                                   Case No. 815-72.153-A736

                              Debtor.                                       Stipulation of Settlement

            ---------·----~---------------------------·--------------:X:
                              Whereas, the Debtor having filed a voluntary petition fort'eliefunder Chaptel' 7 of

            the Bankruptcy Code,

                              Whereas, the Debtor having appeared for examination pursuant to§ 34I(a) of the

             Bankruptcy Code,

                               Whereas, the Trustee having raised issues as to whether this filing was a good

             faith baiikruptcy filing by the Debtor,
(
                               Whereas, there is an issue concerning whether the Debtor hiis any creditors in this

             bankruptcy case,

                             . Whereas, the Trnstee' s attorneys, Weinberg, Gross & Pergament LLP having

             expended substantial time and.effo1t in trying to understand this bankruptcy ciise and all of the

             1·elated litigation between the Debtor and.NLG LLC,

                               It is hereby Stipulated and Agreed as follows:

                               1.       This bankruptcy case is dismissed with prejudice.

                               2. ·     The Debtor shall pay the sum of $6,500.00 to Weinberg, Gross &

              Pergruneut LLP for the attorneys! fees and costs incurred in investigating tlie claims asserted by

              the Debtor in the bankruptcy petition and related State Court lawsuits.



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                            3.    This Stipulation represents the entire agreement between the pruties ru1d

            may not be modified unless in writing signed by the parties and is subject to approval by the

            Bankruptcy Court.

                            4.    The parties acknowledge that the United States Bankruptcy Court for the

            Eastern .District of New York shall retain jurisdiction with respect to the interpretation and

            enforcement of this Stipulation of Settlement and the terms herein ..

            Dated: Garden City, New York
                   July 23, 201 S

                                                          Weinberg, Gross & Pergrunent LLP
                                                          AtteV Trustee
                                                  By:
                                                          Mar<:Ai'ergrunent
                                                          400 Garden City Plaza, Suite 403
                                                          Garden City, New York 11530
                                                           (516) 877-2424
(
                                                           Vlahadamis & Hillen, LLP
                                                           Attorneys for Debtor

                                                  By:          ·~
                                                        · · Evans M. Hillen
                                                            148 East Montauk Highway, Suite 3
                                                            Hampton Bays, New York 11946
                                                           (631) 655-4115

             "So Ordered"




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                               VLAHADAMIS & HILLEN LLP
                                             Attorneys and Counselors at Law
(       8 E. Montauk Highway, Suite 3                                                       Telephone: 631.594.5400
     tlampton Bays, NY 11946                                                                      Fax: 631.594.5401
                                                                                                  www.vhlawny.com

    *JAMES F. VLAHADAMIS                                                                         EVANS M. HILLEN
    james@vhlawny .corn                                                                          evans@vhlawny.com
    *Admitted in NY & NJ


                                                                 September 4, 2015

        Via FedEx
        Hon. Shlomo S. Hagler
         c/o Meshulum Bulls
        Supreme Court, Civil Term
        New York County
       · 60 Centre Street
         Room335
        New York, New York 10013


                           RE: 9197-5904 QUEBEC, INC. (Selective Advisors Group. LLC, Judgment Assignee)
                               v.NLG,LLC
                               Index No.: 101875/2012
(
        Hon. Judge Hagler, .

                    Please be advised that my finn represents the Selective Advisors Group LLC, plaintiff judgment
            creditor herein. This correspondence shall constitute a courtesy notification that plaintiff accepted
            payment in full satisfaction of the judgment outstanding against NLG, LLC and has caused the annexed
            Satisfaction of Judgment to be recorded with the county clerk's office.

                    Given the foregoing, it would be unsuitable for this Court to entertain any application ofNLG,
            LLC (such as one filed by letter on September 3, 201 S) seeking to restore the motion to vacate the
            judgment as there currently exists no judgment to vacate and the matter remains moot. Thank you for
            your attention to this matter.




        CC:
        ARI MOR, Esq. (Attorney for NLG, LLC)
(       JONATHAN BORG, Esq. (Attorney for ADR Miami, LLC, nonparty movant)



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                         JONATHAN M. BORG B.EbELL & FORMAN LLP
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